                           UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF OHIO

In re:                                        )     Case No. 23-60412
                                              )
Daniel William McCarthy
                                              )     Chapter 13
Christina Nichole McCarthy,
                                              )
                                              )     Judge John P Gustafson
         Debtor(s).
                                              )
                                              )     MOTION OF LENDMARK FINANCIAL
                                              )     SERVICES, LLC FOR RELIEF FROM CO-
                                              )     MAKER STAY
                                              )
                                              )     (CO-MAKER TERRY EDMISTER)

         Lendmark Financial Services, LLC (the “Movant”) moves this Court, under Bankruptcy

Code §§ 1301, and other sections of Title 11 of the United States Code, under Federal Rules of

Bankruptcy Procedure 4001 and 6007, and under Local Bankruptcy Rule 4001-1 for an order

conditioning, modifying or dissolving the automatic stay imposed by Bankruptcy Code § 1301.

                                 MEMORANDUM IN SUPPORT

         1.     The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this motion is

proper under 28 U.S.C. §§ 1408 and 1409.

         2.     On November 7, 2022, the Christina Nichole McCarthy and Terry Edmister

obtained a loan from Lendmark Financial Services, LLC in the amount of $4,658.38. Such loan

was evidenced by a Disclosure Statement, Promissory Note and Security Agreement dated

November 7, 2022 (the “Note”), a copy of which is attached as Exhibit A.

         3.     To secure payment of the Note and performance of the other terms contained in it,

the Christina Nichole McCarthy and Terry Edmister executed a Security Agreement in favor of

Lendmark Financial Services, LLC dated November 7, 2022 (the “Security Agreement”). The




23-60412-jpg          Doc 22   FILED 05/30/23     ENTERED 05/30/23 09:11:03         Page 1 of 7
Security Agreement granted a lien on the NA owned by Christina Nichole McCarthy and Terry

Edmister (the “Collateral”). The Collateral is more fully described in the Security Agreement

(check one):

               G attached as Exhibit B;

                       OR

               O contained in the Note, attached as Exhibit A.

       4.      The lien created by the Security Agreement was duly perfected by:A copy of the

recorded Security Agreement, UCC-1 Financing Statement, Certificate of Title or other

document, as applicable, is attached as Exhibit NA. Based on NA, the lien is the 1st lien on the

Collateral.

       5.      The entity in possession of the original Note as of the date of this motion, is

Lendmark Financial Services, LLC.

       6.      The entity servicing the loan is: the Movant.

       7.      The Note was transferred, as evidenced by the following:

               A. If the Collateral is real estate:

                  I.           Under Uniform Commercial Code § 3-203(a) as applicable under
                               state law in effect where the property is located, from the original
                               lender (check only one):

                               G       N/A.


                                       OR


                               G       By endorsement on the Note, payable to
                                       ___________________________________________.

                                       OR




23-60412-jpg      Doc 22      FILED 05/30/23          ENTERED 05/30/23 09:11:03        Page 2 of 7
                         G      By blank endorsement on the Note.


                                OR

                         G      By allonge attached to the Note, payable to
                                ___________________________________________.

                                OR

                         G      By blank allonge, attached to the Note.

                                OR

                         G      The Note is not endorsed to the Movant, or is not endorsed
                                in blank with an allegation that the Movant is in possession
                                of the original Note. The factual and legal basis upon
                                which the Movant is entitled to bring this motion is
                                (explain with particularity and attach supporting
                                documentation):
                                _______________________________________________.
                                OR

                         G      By endorsement on the Note or by allonge attached to the
                                Note, through a power of attorney. If this box is checked, a
                                copy of the power of attorney is attached as Exhibit <___>.
                                Explain why it provides Movant the authority to endorse
                                the Note:
                                ________________________________________________
                                ________________________________________________
                                ___________________________________________.

               <ii.      Under Uniform Commercial Code § 3-203(a) as applicable under
                         state law in effect where the property is located, from the <FIRST
                         TRANSFEREE> to < _____________________________>[ADD
                         ADDITIONAL TRANSFER SECTIONS AS APPROPRIATE.
                         THE LAST TRANSFEREE MUST BE THE MOVANT].>

               <iii.     A court has already determined that Movant has the ability to
                         enforce the Note with a judgment dated <INSERT DATE OF
                         JUDGMENT> in the <INSERT NAME OF COURT>. A copy of
                         the judgment is attached at Exhibit <_>.>

               <iv.      Other__________________________________ [explain].>




23-60412-jpg   Doc 22   FILED 05/30/23     ENTERED 05/30/23 09:11:03           Page 3 of 7
                  B. If the Collateral is not real estate (check one):

                              O       N/A.

                                      OR

                              G       From the original lender to <FIRST TRANSFEREE> by
                                      <STATE METHOD OR DOCUMENT EFFECTING
                                      TRANSFER>. [ADD ADDITIONAL TRANSFER
                                      SECTIONS AS APPROPRIATE. THE LAST
                                      TRANSFEREE MUST BE THE MOVANT.]

       8.      The Security Agreement was transferred as follows (check one):

                              O       N/A.

                                      OR


                              G       <ii.    From the original lender, mortgagee, or mortgagee’s
                                              nominee on <DATE> to <FIRST TRANSFEREE>.
                                              The transfer is evidenced by the document(s)
                                              attached to this Motion as Exhibit <___>. [ADD
                                              ADDITIONAL TRANSFER SECTIONS AS
                                              APPROPRIATE. THE LAST TRANSFEREE
                                              MUST BE THE MOVANT.]

       9.      The value of the Collateral is $NA. This valuation is based on NA.

       10.     As of the date of this motion, there is currently due and owing on the Note the

outstanding principal balance of $4,737.23, plus interest accruing thereon at the rate of 24.99%

per annum [$_______ PER DAY] from April 11, 2023, as described in more detail on the

worksheet. The total provided in this paragraph cannot be relied upon as a payoff quotation.

       11.     The amount due and owing on the Note as set forth in paragraph 10 DOES NOT

include a credit for the sum held in a suspense account by the Movant. The amount of the credit

is $N/A.

       12.     Other parties known to have an interest in the Collateral besides the debtor(s), the




23-60412-jpg      Doc 22     FILED 05/30/23        ENTERED 05/30/23 09:11:03          Page 4 of 7
Movant, and the trustee are (check all that apply):

               G N/A.

               G The <COUNTY> County Treasurer, for real estate taxes, in the amount of

                   $<AMOUNT>.

               O Terry Edmister

               G <ANY OTHER PARTY HOLDING A LIEN, IF APPLICABLE, IN THE

                   AMOUNT OF $__________ [ADD ADDITIONAL PARTIES AS

                   APPROPRIATE>.

       13.     The Movant is entitled to relief from the automatic stay under Bankruptcy Code

§ 362(d) for these reason(s) (check all that apply):

               G       Debtor has failed to provide adequate protection for the lien held by the
                       Movant for these reasons: <EXPLAIN>                                           .

               G       Debtor has failed to keep the Collateral insured as required by the Security
                       Agreement.

               G       Debtor has failed to keep current the real estate taxes owed on the
                       Collateral.

               G       Debtor has failed to make periodic payments to Movant since the
                       commencement of this bankruptcy case for the months of <STATE EACH
                       MONTH AND YEAR>, which unpaid payments are in the aggregate
                       amount of <AMOUNT> through <DATE>. The total provided in this
                       paragraph cannot be relied upon as a postpetition reinstatement quotation.

               G       Debtor is delinquent in funding the plan, and therefore the trustee has
                       failed to make periodic payments to Movant since the commencement of
                       the bankruptcy case for the months of <STATE EACH MONTH AND
                       YEAR>, which unpaid payments are in the aggregate amount of
                       <AMOUNT> through <DATE>. The total provided in this paragraph
                       cannot be relied upon as a postpetition reinstatement quotation.

               G       Debtor has no equity in the Collateral, because the Collateral is valued at
                       $____________, and including the Movant’s lien, there are liens in an
                       aggregate amount of $______________ on the Collateral.




23-60412-jpg       Doc 22    FILED 05/30/23       ENTERED 05/30/23 09:11:03           Page 5 of 7
              G      Debtor’s plan provides for surrender of the Collateral.

              G      The property is not necessary to an effective reorganization because
                     ______________________________________________.
              O      Other cause (set forth with specificity): co-maker is personally liable for
                     the debt and movant is entitled to recover the debt from co-maker.

       14.    Movant has completed the worksheet, attached as Exhibit B.

WHEREFORE, Movant prays for an order from the Court granting Movant relief from the

automatic stay of Bankruptcy Code § 1301 to permit Movant to proceed under applicable

nonbankruptcy law.

                                            Respectfully submitted,


                                            /s/ Stephen D. Miles
                                            STEPHEN D. MILES #0003716
                                            Attorney for Movant
                                            18 West Monument Avenue
                                            Dayton, Ohio 45402
                                            (937) 461-1900/461-0444 fax
                                            sdm@mileslaw.com
                                            Attorney for Movant




23-60412-jpg      Doc 22   FILED 05/30/23       ENTERED 05/30/23 09:11:03            Page 6 of 7
                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on May 30, 2023, a true and correct copy of the foregoing
Motion of Lendmark Financial Services, LLC for Relief from Co-Maker Stay was served via the
Court’s electronic case filing system on the following who are listed on the Court’s Electronic
Mail Notice List:

Jonathon Carl Elgin jc@jcelgin.com,
bankruptcy@jcelgin.com,9150504420@filings.docketbird.com
Cynthia A. Jeffrey bankruptcy@weinerlaw.com
Dynele L Schinker-Kuharich DLSK@Chapter13Canton.com,
dschinkerkuharich@ecf.epiqsystems.com
United States Trustee (Registered address)@usdoj.gov

and by regular U.S. mail, postage prepaid, to:

Daniel William McCarthy
Christina Nichole McCarthy
645 Shelby Ontario Road
Ontario, OH 44906-1033

Terry Edmister
645 Shelby Ontario Road
Ontario, OH 44906-1033



                                             /s/ Stephen D. Miles
                                             (0003716)




23-60412-jpg      Doc 22     FILED 05/30/23      ENTERED 05/30/23 09:11:03         Page 7 of 7
